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August 31, 2018

VIA ECF and
FIRST CLASS MAIL

Hon. Deborah A. Batts

United States District Court for the
Southern District of New York

United States Courthouse

500 Pearl Street, Rm. 2510

New York, NY 10007

Re: L & Leung Leatherware Limited v. Collection XIIXLta'. and Lisa Nunziata,
No. 1 :l7-cv-073 74-DAB

Dear Judge Batts:

We represent defendant/third-party plaintiff Lisa Nunziata and defendant/ counterclaim
plaintiff Collection XIIX Ltd. in the above-referenced action. We Write on behalf of all counsel
to request the Court’s approval of a 60-day extension of the discovery end-date and other pre-
trial deadlines set forth in the Court’s scheduling order dated April 12, 2018 (ECF Doc. 30).

No prior requests for an extension of discovery have been made by the parties. The
parties have Worked cooperatively to address any discovery issues that have arisen.
Nevertheless, technical and other impediments to electronic discovery have delayed the
completion of document discovery. Further, the parties are still in the process of reviewing the
voluminous documents produced to date prior to taking the several depositions noticed by each
side.

ln light of the unforeseen delays the parties have encountered in document discovery, and
the scheduling issues posed first by the parties’ business obligations and, upcoming, by the loss
of much of September to the Jewish holidays (September 10 through October 2)_all of Which
have required postponing depositions Without date-completion of discovery by the September
28, 2018 deadline fixed by the scheduling order is not feasible.

Further, We note that absent the deposition of plaintiff L & Leung Leatherware Limited
(“L & Leung”), a Hong Kong corporation, wherein defendants intend to inquire about L &
Leung’s business activities in New York at the time of commencement of the action, defendants

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are not prepared to challenge plaintiffs jurisdiction, or inform the Court that jurisdiction is not an
issue under New York Business Corporation Law Section 1312. Your Honor’s order of
yesterday (ECF Doc. 31) requires defendants to take such action on or before September 13,

201 8.

The parties thus respectfully request that, in addition to amendment to the scheduling
order to provide a 60-day extension, the deadline for any motion by defendants challenging
plaintiff’ s jurisdiction be extended to 10 days following the completion of the Rule 30(b)(6)
deposition of L & Leung, and in no event later than November 16, 2018.

We thank the Court for its courtesies in this matter.

Res o ectfully yours,

  

cc: Gerry Silver, Esq. (via ECF)

